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               THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION




AUTOSCRIBE CORPORATION                 §
                                       §
     Plaintiff                         §          Case No. 1:24-cv-04282-SCJ
                                       §
     v.                                §          JURY TRIAL DEMANDED
                                       §
M&A VENTURES, LLC                      §
                                       §
     Defendant.                        §


            REVISED JOINT CLAIM CONSTRUCTION CHART

      Plaintiff Autoscribe Corporation (“Autoscribe”) and Defendant M&A

Ventures, LLC (“M&A”) hereby submit their Revised Joint Claim Construction

Chart, attached as Exhibit A, reflecting the disputed claim terms and supporting

evidence.

      The claim terms proposed for construction below are found within U.S.

Patent No. 11,620,621 (the “’621 Patent”).

      M&A objects to Autoscribe’s reliance on extrinsic evidence, in particular

Exhibits O and R to its Responsive Claim Construction Brief, which was not

previously disclosed through Autoscribe’s disclosure of extrinsic evidence or the

original Joint Claim Construction Statement as required by the local patent rules.



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      As reflected in Exhibit A, M&A no longer seeks construction of the following

claim terms:

   • “providing a non-sensitive data token to the merchant… without providing
     the non-sensitive data token to the payer” (Claims 1, 8, and 25)
   • “receiving the non-sensitive electronic data token from the secure server,
     wherein…the secure server does not provide the non- sensitive electronic
     data token to the payer” (Claims 15 and 23)
   • “generating a uniform resource locator (url),… the url comprising either: a
     dynamic url generated by the secure server…; or a static url and a hypertext
     transport protocol (http) parameter…” (Claims 1, 8, and 25).

      M&A agrees that it will not raise arguments inconsistent with or attempt to

deviate from the plain and ordinary meaning as described by the Patent Trial and

Appeals Board.


Dated: February 7, 2025
/s/ Jason McManis                           /s/ Marron Frith

Jason McManis                               Richard Miller
State Bar No.: 24088032                     Georgia Bar No. 065257
Colin Phillips                              Alan White
State Bar No.: 24105937                     Georgia Bar No. 410546
Chun Deng                                   Ballard Spahr LLP
State Bar No.: 24133178                     999 Peachtree Street NE, Suite 1600
Michael Killingsworth                       Atlanta, Georgia 30062
State Bar No.: 24110089                     Telephone: 678-420-9340
Angela Peterson                             Email: millerrw@ballardspahr.com
State Bar No.: 24137111                            whiteda@ballardspahr.com
Sean Healey
State Bar No.: 24142997                     David H. Harper (pro hac vice)
Ahmad, Zavitsanos & Mensing, PLLC           Texas Bar No. 09025540
1221 McKinney Street, Suite 2500            david.harper@haynesboone.com
Houston, Texas 77010                        Stephanie N. Sivinski (pro hac vice)
(713) 655-1101                              Texas Bar No. 24075080
jmcmanis@azalaw.com                         stephanie.sivinski@haynesboone.com


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cphillips@azalaw.com                    Marron E. Frith (pro hac vice)
cdeng@azalaw.com                        TX Bar No. 24137884
mkillingsworth@azalaw.com               marron.frith@haynesboone.com
apeterson@azalaw.com                    Jamie Raju (pro hac vice)
shealey@azalaw.com                      TX Bar No. 24095717
                                        jamie.raju@haynesboone.com
David S. Moreland                       HAYNES AND BOONE, LLP
State Bar No.: 521998                   2801 N. Harwood Street
Meunier Carlin & Curfman LLC            Suite 2300
999 Peachtree St. NE, Ste. 1300         Dallas, Texas 75201
Atlanta, GA 30309                       (214) 651-5000 (telephone)
(404) 645-7700                          (214) 200-0615 (fax)
(404) 645-7707 (fax)
dmoreland@mcciplaw.com

ATTORNEYS FOR AUTOSCRIBE                COUNSEL FOR DEFENDANT M&A
CORPORATION                             VENTURES, LLC




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                                   Exhibit A: Disputed Claim Terms and Evidence

   Claim term           Autoscribe’s proposed construction and        M&A’s proposed construction and supporting evidence
                                   supporting evidence
“sensitive          Plain and ordinary meaning                       Indefinite; alternatively,
financial account
information”        Intrinsic evidence:                              “financial account information whose storage requires
                    • ’621 Patent, including at: 1:24–29, 1:59–62,   compliance with one or more information security standards”
(Claims 1, 8, 15,       8:2–14, Claim 1
23, 25, and other                                                    Intrinsic Evidence
dependent claims) Extrinsic evidence:                                ’621 Patent, including at 1:45-48, 1:63-2:3, 2:35-39, 8:8-14
                  • Ex. A (www.merriam-webster.com) (including
                     at “sensitive”)                                 Prosecution History of U.S. Patent No. 11,620,621, including
                  • Ex. H (www.britannica.com/dictionary)            at ASC000207
                     (including at “sensitive”)
                                                                     Extrinsic Evidence
                                                                     Exhibit B, Expert Testimony of Dr. Michael Shamos




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      Claim term           Autoscribe’s proposed construction and           M&A’s proposed construction and supporting evidence
                                      supporting evidence
“obtain[ing] the      “obtaining the payment amount and causing or        “obtain[ing] the money required for the [second] payment”
[second] payment      requesting at least a portion of the payment amount
amount                to be sent, directed, or credited”                  ///

                      Intrinsic evidence:                               “forward[ing] at least a portion of the money required for the
                      • ’621 Patent, including at:                      [second] payment”
///                           o 10:58–60
                              o Claims 1, 2, 8, 9, 15, 23, 25
                      • Prosecution history, including at ASC000033,    Intrinsic Evidence
                          ASC000108, ASC000502, ASC000527               ’621 Patent, including at 9:16-19, 10:54

forward[ing] at       Extrinsic evidence:                               Prosecution History of U.S. Patent No. 11,620,621, including
least a portion of    • Ex. O (www.plaid.com/resources/ach/how-         at ASC000033, ASC000527, ASC000664
the [second]             does-an-ach-transfer-work/)
payment amount”                                                         M&A objects to Autoscribe’s reliance on extrinsic evidence,
                                                                        in particular Exhibit O to its Responsive Claim Construction
(Claims 1, 2, 8, 9,                                                     Brief, which was not previously disclosed through
15, 23, and 25)                                                         Autoscribe’s disclosure of extrinsic evidence or the original
                                                                        Joint Claim Construction Statement as required by the local
                                                                        patent rules.




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   Claim term         Autoscribe’s proposed construction and          M&A’s proposed construction and supporting evidence
                                 supporting evidence
“authenticate[s] aPlain and ordinary meaning                         “verify[ies] the identity of the payee/verifying the identity of
payee”/                                                              the payee”
“authenticating the Intrinsic evidence:
payee”              • ’621 Patent, including at:                     Intrinsic Evidence
                            o 10:46–50, 13:55–14:12                  ’621 Patent, including at 2:19-22, 2:25, 2:64-3:3, 3:9-15,
(Claims 1, 8, 15,                                                    10:15-19, 10:46-50, 12:54-58, 13:7, 13:62-14:15
23, and 25)         Extrinsic evidence:
                    • Ex. H to Dkt. 139                              Prosecution History of U.S. Patent No. 11,620,621, including
                                                                     at ASC000279-ASC000290
                  PTAB Docket:
                  • M&A Ventures v. Autoscribe, IPR2024-01159, U.S. Patent Application No. 16/535,424 (’621 Patent
                    Papers 4, 12                               Application), including at [0072], Fig. 4f

                                                                     Extrinsic Evidence
                                                                     “Authentication. In computers and communications, the
                                                                     process of verifying the legitimacy of a transmission, user, or
                                                                     system. Measures such as passwords and digital signatures
                                                                     are employed.” Wiley Electrical and Electronics Engineering
                                                                     Dictionary (2004) at 298.

                                                                     “Authentication. A process by which subjects, normally
                                                                     users, establish their identity to a system. This may be
                                                                     effected by the use of a password or possession of a physical
                                                                     device, e.g. a coded token.” Dictionary of Computer Science
                                                                     (2016) at 32.




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   Claim term           Autoscribe’s proposed construction and        M&A’s proposed construction and supporting evidence
                                   supporting evidence
“function”          Plain and ordinary meaning                       “block of code that operates as a single logical unit”

(Claims 1, 8, 15,   Intrinsic evidence:                            Intrinsic Evidence
23, and 25)         • ’621 Patent, including at:                   ’621 Patent, including at 5:57-61, 13:55-57, 14:60-62
                            o 5:57–61
                    • Prosecution History, including at ASC000304– Extrinsic Evidence
                        10, ASC000313–88, ASC000338,               “3. Within a computer program, a small group of instructions
                        ASC000371, ASC000458, ASC000492,           which perform a given task. Also called subroutine (2),
                        ASC000500                                  routine (1), or procedure (2).” Wiley Electrical and
                    • Ex. B (including at p.18)                    Electronics Engineering Dictionary (2004) at 306.

                    Extrinsic evidence:
                                                                 “A piece of code that operates as a single logical unit. A
                    • Ex. H to Dkt. 139                          function is called by name, accepts optional input parameters,
                                                                 and returns a status and optional output parameters. Many
                    PTAB Docket                                  programming languages support functions.” Dictionary of
                    • M&A Ventures v. Autoscribe, IPR2024-01159, Computer and Internet Terms Vol 1 (2016) at 217.
                      Papers 4, 12




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   Claim term           Autoscribe’s proposed construction and        M&A’s proposed construction and supporting evidence
                                   supporting evidence
“perform[ing]       Plain and ordinary meaning                       Indefinite
each software
process required to Intrinsic evidence:                              Intrinsic Evidence
maintain            • ’621 Patent at:                                ’621 Patent, including at 1:30-33, 1:63-2:3; 5:62-6:4; 7:8-12;
compliance with             o 1:24–2:3, 5:62–6:4, 7:8–12, 8:8–14,    10:51-57
one or more                     10:51–60
information         • Prosecution history, including at ASC000304–   Prosecution History of U.S. Patent No. 11,620,621, including
security                10, ASC000313–88                             at ASC000194, ASC000314
standards”
                                                                     Extrinsic Evidence
(Claims 1, 8, and   Extrinsic evidence:                              Exhibit B, Expert Testimony of Dr. Michael Shamos
25)                 • Ex. A (including at “perform,” “software,”
                       “required,” “maintain,” and “compliance”)




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   Claim term           Autoscribe’s proposed construction and             M&A’s proposed construction and supporting evidence
                                   supporting evidence
“a representation   Plain and ordinary meaning                            Indefinite
of the non-
sensitive           Intrinsic evidence:                                   Intrinsic Evidence
electronic data         • ’621 Patent, including at:                      ’621 Patent, including at 1:52-59, 3:9-15, 8:40-43, 8:52-9:11,
token”                          o 1:52-56; 2:64-3:3; 3:6-15; 7:1-8;       10:46-48
                                    7:31-34; 7:44-49; 8:40-43, 8:52-59;
(Claims 2, 9, 15,                   9:12-19; 10:46-48; 13:39-54           Prosecution History of U.S. Patent No. 11,620,621, including
and 23)                         o Claims 1, 2, 3, 4, 8, 9, 10, 15, 16,    at ASC000120
                                    23
                                                                          Extrinsic Evidence
                    Extrinsic evidence:                                   “representation. 2. Something that represents, as: a. An image
                       • Ex. A (including at “representation” and         or likeness of something.”
                           synonyms of “representation”)                  American Heritage Dictionary of the English Language
                       • Ex. I (including at “representation”)            (2018) at 1490.
                       • Ex. R
                                                                          “representation. 3 [c] something, for example a painting or
                                                                          sign, that shows or describes something else”
                                                                          Longman Dictionary of American English (2014) at 947.

                                                                          Exhibit B, Expert Testimony of Dr. Michael Shamos

                                                                          M&A objects to Autoscribe’s reliance on extrinsic evidence,
                                                                          in particular Exhibit R to its Responsive Claim Construction
                                                                          Brief, which was not previously disclosed through
                                                                          Autoscribe’s disclosure of extrinsic evidence or the original
                                                                          Joint Claim Construction Statement as required by the local
                                                                          patent rules.




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   Claim term           Autoscribe’s proposed construction and             M&A’s proposed construction and supporting evidence
                                   supporting evidence
“wherein the        Plain and ordinary meaning                            Indefinite
representation of
the non-sensitive   Intrinsic evidence:                                   Intrinsic Evidence
electronic data         • ’621 Patent, including at:                      ’621 Patent, including at 1:52-59, 3:9-15, 8:40-43, 8:52-9:11,
token is the non-               o 1:52-56; 2:64-3:3; 3:6-15; 7:1-8;       10:46-48,
sensitive                           7:31-34; 7:44-49; 8:40-43, 8:52-59;
electronic data                     9:12-19; 10:46-48; 13:39-54           Prosecution History of U.S. Patent No. 11,620,621, including
token”                          o Claims 1, 2, 3, 4, 8, 9, 10, 15, 16,    at ASC000120
                                    23
(Claims 3, 10, and                                                        Extrinsic Evidence
16)                Extrinsic evidence:                                    Exhibit B, Expert Testimony of Dr. Michael Shamos
                      • Ex. A (including at “representation” and
                          synonyms of “representation”)                   M&A objects to Autoscribe’s reliance on extrinsic evidence,
                      • Ex. I (including at “representation”)             in particular Exhibit R to its Responsive Claim Construction
                      • Ex. R                                             Brief, which was not previously disclosed through
                                                                          Autoscribe’s disclosure of extrinsic evidence or the original
                                                                          Joint Claim Construction Statement as required by the local
                                                                          patent rules.




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